        Case 1:23-mc-00007-RC Document 15-3 Filed 08/17/23 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 IN RE: JEFFREY B. CLARK,

        A member of the Bar of the                    Case No. 1:23-mc-00007-RC
        District of Columbia Court of                 Case No. 1:22-mc-00096-RC
        Appeals (Bar No. 455315)                      Case No. 1:22-mc-00117-RC
                                                      (consolidated)




                                          O RD ER


       It is hereby ordered that Jeffrey Clark’s Motion for Stay on Grounds Newly Arising
on August 14, 2023 is GRANTED, all proceedings in this matter shall cease at least until
the conclusion of all trial-level proceedings in Georgia v. Donald J. Trump, et al., Superior
Court of Fulton County, Georgia, Case No. 23SC188947.

        After the conclusion of all trial-level proceedings, both sides in this litigation shall
file a Status Update with this Court within 10 calendar days.

       The Clerk is ordered (1) not to send a certified copy of this Court’s June 8 order in
this case; or (2) enter a separate final judgment until instructed to do so by order of this
Court.



                                    Entered on:     _____________________.

                                    _______________________________.
                                    Hon. Rudolph Contreras
                                    United States District Judge
